           Case 23-12202-pmm                              Doc 14           Filed 08/17/23 Entered 08/17/23 17:15:24                                                    Desc Main
                                                                          Document     Page 1 of 39
 Fill in this information to identify your case and this filing:

  Debtor 1                 Michael                      Patrick                      Creedon
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Regina                       Anne                         Creedon
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Eastern                   District of       Pennsylvania

  Case number             23-12202-pmm                                                                                                                                 ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      4 Saljon Ct                                      ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                Maple Glen, PA 19002-3012                         ❑ Investment property                                                              $632,640.00                $632,640.00

                City         State    ZIP Code                    ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Montgomery                                                                                                             a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ❑ Debtor 1 only                                                       Tenants by the Entirety
                                                                  ❑ Debtor 2 only
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                  ❑                                                                    ❑ Check if this is community property
                                                                                                                                            (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Realtor.com value ($790,800) less 20% liquidation cost.



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                $632,640.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
         Case 23-12202-pmm                               Doc 14           Filed 08/17/23 Entered 08/17/23 17:15:24                                                    Desc Main
                                                                         Document     Page 2 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                                                       Case number (if known) 23-12202-pmm



       3.1     Make:                           Lexus             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                               ES 350
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2008              ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            195,000
                                                                 ❑ Check if this is community property (see                                             $2,778.00                 $2,778.00
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes


                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                  $2,778.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Various used pieces of furniture, furnishings, appliances, linens, and other similar items.                                            $1,000.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Various used televisions, mobile devices, and computers.                                                                                 $200.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
         Case 23-12202-pmm                                         Doc 14              Filed 08/17/23 Entered 08/17/23 17:15:24                                                                Desc Main
                                                                                      Document     Page 3 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                                                                             Case number (if known) 23-12202-pmm



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           Various used articles of clothing, shoes, and accessories.                                                                                                 $800.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           Various used pieces of jewelry.                                                                                                                            $300.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............



                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                           $2,300.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 3
         Case 23-12202-pmm                          Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                             Desc Main
                                                                 Document     Page 4 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                              Case number (if known) 23-12202-pmm



 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                               Institution name:

                                      17.1. Checking account:          Bank of America (#1718)                                                $2,000.00

                                      17.2. Checking account:          Bank of America (#3308)                                                 $500.00

                                      17.3. Checking account:          TD Bank (#8447)                                                         $150.00

                                      17.4. Checking account:          WSFS (#7643)                                                                $40.00

                                      17.5. Other financial account:   Prudential                                                              $850.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................

 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
           information about
           them....................   Name of entity:                                                       % of ownership:

                                       Michael P. Creedon, Attorney at Law, LLC                                          100.00%                    $0.00

                                       Ventresca Travel Inc.                                                              43.00%                    $0.00


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................


 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately.


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................




Official Form 106A/B                                                     Schedule A/B: Property                                                    page 4
         Case 23-12202-pmm                            Doc 14    Filed 08/17/23 Entered 08/17/23 17:15:24                            Desc Main
                                                               Document     Page 5 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                               Case number (if known) 23-12202-pmm



 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................

 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you
                 already filed the returns and
                 the tax years. ...................


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........

 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                                Schedule A/B: Property                                                          page 5
         Case 23-12202-pmm                                    Doc 14            Filed 08/17/23 Entered 08/17/23 17:15:24                                                          Desc Main
                                                                               Document     Page 6 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                                                                  Case number (if known) 23-12202-pmm



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                              $3,540.00
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 6
         Case 23-12202-pmm                                    Doc 14            Filed 08/17/23 Entered 08/17/23 17:15:24                                                          Desc Main
                                                                               Document     Page 7 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                                                                  Case number (if known) 23-12202-pmm



 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......

 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................
 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............

 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................
 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................
 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 7
         Case 23-12202-pmm                                      Doc 14             Filed 08/17/23 Entered 08/17/23 17:15:24                                                             Desc Main
                                                                                  Document     Page 8 of 39
Debtor Creedon, Michael Patrick; Creedon, Regina Anne                                                                                      Case number (if known) 23-12202-pmm




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                   $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............



 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                  $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔        $632,640.00


 56.   Part 2: Total vehicles, line 5                                                                                  $2,778.00

 57.   Part 3: Total personal and household items, line 15                                                             $2,300.00

 58.   Part 4: Total financial assets, line 36                                                                         $3,540.00

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                               $8,618.00           Copy personal property total             ➔   +      $8,618.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                $641,258.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 8
                Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                            Desc Main
                                                                  Document     Page 9 of 39
 Fill in this information to identify your case:

  Debtor 1                    Michael              Patrick            Creedon
                              First Name           Middle Name       Last Name

  Debtor 2                    Regina               Anne               Creedon
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                     Eastern District of Pennsylvania

  Case number                       23-12202-pmm                                                                                  ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from     Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑               $0.00                    11 U.S.C. § 522(d)(1)
 4 Saljon Ct Maple Glen, PA 19002-3012                                $632,640.00
                                                                                     ❑ 100% of fair market value, up
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          1.1
                                                                                     ✔
                                                                                     ❑               $0.00                    11 U.S.C. § 522(d)(5)
                                                                                     ❑ 100% of fair market value, up
                                                                                         to any applicable statutory limit


 Brief description:
                                                                                     ✔
                                                                                     ❑            $2,778.00                   11 U.S.C. § 522(d)(2)
 2008 Lexus ES 350                                                       $2,778.00
                                                                                     ❑ 100% of fair market value, up
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:          3.1
                                                                                     ✔
                                                                                     ❑               $0.00                    11 U.S.C. § 522(d)(5)
                                                                                     ❑ 100% of fair market value, up
                                                                                         to any applicable statutory limit




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                              page 1 of 4
             Case 23-12202-pmm                      Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                             Desc Main
                                                             Document      Page 10 of 39
 Debtor 1            Michael              Patrick                Creedon
 Debtor 2            Regina               Anne                   Creedon                                        Case number (if known) 23-12202-pmm
                     First Name           Middle Name            Last Name


 Part 2: Additional Page


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                page 2 of 4
              Case 23-12202-pmm                    Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                            Document      Page 11 of 39
 Debtor 1             Michael            Patrick               Creedon
 Debtor 2             Regina             Anne                  Creedon                                      Case number (if known) 23-12202-pmm
                      First Name         Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑            $1,000.00                   11 U.S.C. § 522(d)(3)
 Various used pieces of furniture, furnishings,                    $1,000.00
 appliances, linens, and other similar items.                                  ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $200.00                   11 U.S.C. § 522(d)(3)
 Various used televisions, mobile devices, and                       $200.00
 computers.                                                                    ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $800.00                   11 U.S.C. § 522(d)(3)
 Various used articles of clothing, shoes, and                       $800.00
 accessories.                                                                  ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $300.00                   11 U.S.C. § 522(d)(4)
 Various used pieces of jewelry.                                     $300.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑            $2,000.00                   11 U.S.C. § 522(d)(5)
 Bank of America (#1718)                                           $2,000.00
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑              $500.00                   11 U.S.C. § 522(d)(5)
 Bank of America (#3308)                                             $500.00
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑              $150.00                   11 U.S.C. § 522(d)(5)
 TD Bank (#8447)                                                     $150.00
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                              page 3 of 4
              Case 23-12202-pmm                   Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                           Document      Page 12 of 39
 Debtor 1             Michael           Patrick               Creedon
 Debtor 2             Regina            Anne                  Creedon                                      Case number (if known) 23-12202-pmm
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑              $40.00                    11 U.S.C. § 522(d)(5)
 WSFS (#7643)                                                        $40.00
 Checking account                                                             ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑              $850.00                   11 U.S.C. § 522(d)(5)
 Prudential                                                         $850.00
 Brokerage account                                                            ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(5)
 Ventresca Travel Inc.                                                $0.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        19

 Brief description:
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(5)
 Michael P. Creedon, Attorney at Law, LLC                             $0.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        19




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 4 of 4
                Case 23-12202-pmm                           Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                                Desc Main
                                                                        Document      Page 13 of 39
 Fill in this information to identify your case:

  Debtor 1                       Michael                 Patrick             Creedon
                                 First Name              Middle Name        Last Name

  Debtor 2                       Regina                  Anne                Creedon
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                           Eastern District of Pennsylvania

  Case number                             23-12202-pmm                                                                                       ❑ Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                       Column A            Column B           Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                     Amount of claim     Value of           Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                Do not deduct the   collateral that    portion
    creditor’s name.                                                                                                value of            supports this      If any
                                                                                                                    collateral.         claim

 2.1 Ocwen Loan Servicing, LLC                              Describe the property that secures the claim:               $702,936.00          $632,640.00           $70,296.00
      Creditor's Name
                                                              4 Saljon Ct Maple Glen, PA 19002-3012
      1661 Worthington Road Suite 100
      Number            Street
      West Palm Beach, FL 33409                             As of the date you file, the claim is: Check all that
      City                        State       ZIP Code      apply.
      Who owes the debt? Check one.                         ❑ Contingent
      ❑ Debtor 1 only                                       ❑ Unliquidated
      ❑ Debtor 2 only                                       ❑ Disputed
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                     Nature of lien. Check all that apply.
      ❑ At least one of the debtors and                     ✔ An agreement you made (such as mortgage
                                                            ❑
          another                                               or secured car loan)
      ❑ Check if this claim relates to a                    ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                        lien)
      Date debt was incurred                                ❑ Judgment lien from a lawsuit
      8/1/2003                                              ❑ Other (including a right to offset)
                                                            Last 4 digits of account number 7          7   8   0

      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $702,936.00




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 3
                Case 23-12202-pmm                     Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                                 Desc Main
                                                                  Document      Page 14 of 39
 Debtor 1                Michael            Patrick                  Creedon
 Debtor 2                Regina             Anne                     Creedon                                        Case number (if known) 23-12202-pmm
                         First Name         Middle Name              Last Name


                                                                                                              Column A             Column B          Column C
                Additional Page
                                                                                                              Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                            Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                           value of             supports this     If any
                                                                                                              collateral.          claim


 2.2                                                  Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                      As of the date you file, the claim is: Check all that
                                                      apply.
                                                      ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                                ❑ Unliquidated
       ❑ Debtor 2 only                                ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                   Nature of lien. Check all that apply.
       ❑ At least one of the debtors and              ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a             ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                      ❑ Judgment lien from a lawsuit
                                                      ❑ Other (including a right to offset)
                                                      Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                     $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number             $702,936.00
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
                Case 23-12202-pmm                  Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                                Desc Main
                                                            Document      Page 15 of 39
 Debtor 1            Michael             Patrick                 Creedon
 Debtor 2            Regina              Anne                    Creedon                                       Case number (if known) 23-12202-pmm
                     First Name          Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

   1                                                                                    On which line in Part 1 did you enter the creditor?     1
       Stern and Eisenberg, LLP
       Name
                                                                                        Last 4 digits of account number
       1581 Main Street Suite 200
       Number        Street



       Warrington, PA 18976
       City                                              State        ZIP Code




Official Form 106D                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3
                Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                                 Desc Main
 Fill in this information to identify your case:                 Document      Page 16 of 39
  Debtor 1                  Michael                Patrick            Creedon
                            First Name             Middle Name       Last Name

  Debtor 2                  Regina                 Anne               Creedon
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                     Eastern District of Pennsylvania

  Case number                      23-12202-pmm                                                                                        ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Internal Revenue Service                                                                                             $6,000.00       $6,000.00           $0.00
                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
         Centralized Insolvency Operation
                                                                   As of the date you file, the claim is: Check all that
         PO Box 7346                                               apply.
        Number          Street                                     ❑ Contingent
         Philadelphia, PA 19101-7346                               ❑ Unliquidated
        City                             State     ZIP Code
                                                                   ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
                                                                   ❑ Domestic support obligations
        ❑ Debtor 2 only                                            ✔ Taxes and certain other debts you owe the
                                                                   ❑
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                             government
        ❑ At least one of the debtors and another                  ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                 were intoxicated
                                                                   ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 3
              Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                                   Desc Main
 Debtor 1            Michael              Patrick              Document
                                                                 Creedon     Page 17 of 39
 Debtor 2            Regina               Anne                     Creedon                                         Case number (if known) 23-12202-pmm
                     First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     City of Philadelphia                                                                                                                             $10,118.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Municipal Services Building
                                                                             As of the date you file, the claim is: Check all that apply.
        1401 John F Kennedy Blvd 5th Floor
       Number          Street
                                                                             ❑ Contingent
        Philadelphia, PA 19102-1640                                          ❑ Unliquidated
       City                           State     ZIP Code                     ✔ Disputed
                                                                             ❑
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                     ❑ Student loans
       ❑ Debtor 2 only                                                       ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                              divorce that you did not report as priority claims
                                                                             ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                 similar debts
       ❑ Check if this claim is for a community debt                         ✔ Other. Specify
                                                                             ❑
       Is the claim subject to offset?                                           Taxes
       ✔ No
       ❑
       ❑ Yes
        Remarks: A claim was filed by the City of Philadelphia in the Debtors' prior case, however the debt claimed was for a different
        person with the same name as Debtor Michael Creedon but with a different address. The Debtors intend to object to this claim if
        filed again on the basis that it is owed by a different person for which they are not responsible.




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 3
             Case 23-12202-pmm                      Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                         Desc Main
 Debtor 1          Michael                Patrick            Document
                                                               Creedon     Page 18 of 39
 Debtor 2          Regina                 Anne                  Creedon                                   Case number (if known) 23-12202-pmm
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                         $6,000.00
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                          $6,000.00




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                    $10,118.00
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                         $10,118.00




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 3
                   Case 23-12202-pmm                        Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                             Desc Main
                                                                        Document      Page 19 of 39
 Fill in this information to identify your case:

     Debtor 1                       Michael              Patrick             Creedon
                                    First Name           Middle Name        Last Name

     Debtor 2                       Regina               Anne                Creedon
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                         Eastern District of Pennsylvania

     Case number                          23-12202-pmm                                                                                     ❑ Check if this is an
     (if known)                                                                                                                                amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                                 Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of 1
                Case 23-12202-pmm                             Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                                       Document      Page 20 of 39
 Fill in this information to identify your case:

  Debtor 1                       Michael                Patrick            Creedon
                                 First Name            Middle Name         Last Name

  Debtor 2                       Regina                 Anne               Creedon
  (Spouse, if filing)            First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                          Eastern District of Pennsylvania

  Case number                             23-12202-pmm                                                                                 ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt
                                                                                                            Check all schedules that apply:
3.1                                                                                                         ❑ Schedule D, line
      Name
                                                                                                            ❑ Schedule E/F, line
      Number            Street                                                                              ❑ Schedule G, line
      City                                    State   ZIP Code




Official Form 106H                                                            Schedule H: Your Codebtors                                                     Page 1 of 1
                Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                                   Desc Main
                                                                 Document      Page 21 of 39
 Fill in this information to identify your case:

  Debtor 1                  Michael                Patrick           Creedon
                           First Name              Middle Name      Last Name

  Debtor 2                  Regina                 Anne              Creedon
  (Spouse, if filing)      First Name              Middle Name      Last Name                                             Check if this is:

  United States Bankruptcy Court for the:                    Eastern District of Pennsylvania                             ❑ An amended filing
                                                                                                                          ❑ A supplement showing postpetition
  Case number                     23-12202-pmm                                                                               chapter 13 income as of the following date:
  (if known)

                                                                                                                             MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                             Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status           ✔ Employed ❑ Not Employed
                                                                         ❑                                                 ✔ Employed ❑ Not Employed
                                                                                                                           ❑
     attach a separate page with
     information about additional            Occupation                  Self-Employed Attorney                            Travel Agent
     employers.
                                             Employer's name             Michael P. Creedon, Attorney at Law, LLC          Ventresca Travel, Inc.
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address          4 Saljon Ct                                       253 S York Rd
     Occupation may include student                                       Number Street                                     Number Street
     or homemaker, if it applies.




                                                                         Ambler, PA 19002                                  Hatboro, PA 19040
                                                                          City                     State   Zip Code         City                    State   Zip Code
                                             How long employed there? Since January 2023



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1   For Debtor 2 or
                                                                                                                      non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.           2.                 $0.00                  $193.75

 3. Estimate and list monthly overtime pay.                                               3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                          4.                 $0.00                  $193.75




Official Form 106I                                                        Schedule I: Your Income                                                               page 1
                 Case 23-12202-pmm                                 Doc 14           Filed 08/17/23 Entered 08/17/23 17:15:24                               Desc Main
                                                                                  Document      Page 22 of 39
 Debtor 1                 Michael                      Patrick                         Creedon
 Debtor 2                 Regina                       Anne                            Creedon                                       Case number (if known) 23-12202-pmm
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                 $193.75
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                  $26.84
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                  $26.84
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                 $166.91
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.           $5,164.83                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $2,704.00                 $961.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $7,868.83                  $961.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $7,868.83    +           $1,127.91         =          $8,996.74

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $8,996.74

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
             Case 23-12202-pmm                    Doc 14      Filed 08/17/23 Entered 08/17/23 17:15:24              Desc Main
                                                            Document      Page 23 of 39
 Debtor 1              Michael          Patrick               Creedon
 Debtor 2              Regina           Anne                  Creedon                           Case number (if known) 23-12202-pmm
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                                                  Business Income

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                                 $7,527.83

   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                      $2,363.00

       3.   Net Employee Payroll (Other than debtor)                                                               $0.00

       4.   Payroll Taxes                                                                                          $0.00

       5.   Unemployment Taxes                                                                                     $0.00

       6.   Worker's Compensation                                                                                  $0.00

       7.   Other Taxes                                                                                            $0.00

       8.   Inventory Purchases (Including raw materials)                                                          $0.00

       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                 $0.00

       10. Rent (Other than debtor's principal residence)                                                          $0.00

       11. Utilities                                                                                               $0.00

       12. Office Expenses and Supplies                                                                            $0.00

       13. Repairs and Maintenance                                                                                 $0.00

       14. Vehicle Expenses                                                                                        $0.00

       15. Travel and Entertainment                                                                                $0.00

       16. Equipment Rental and Leases                                                                             $0.00

       17. Legal/Accounting/Other Professional Fees                                                                $0.00

       18. Insurance                                                                                               $0.00

       19. Employee Benefits (e.g., pension, medical, etc.)                                                        $0.00

       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                    $0.00

       21. Other Expenses
            TOTAL OTHER EXPENSES                                                                                   $0.00

                                                                                                                                  $2,363.00
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                               $5,164.83




Official Form 106I                                                  Schedule I: Your Income                                           page 3
                Case 23-12202-pmm                      Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                                Desc Main
                                                                   Document      Page 24 of 39
 Fill in this information to identify your case:

  Debtor 1                  Michael                 Patrick              Creedon
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2                  Regina                  Anne                 Creedon
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                      Eastern District of Pennsylvania
                                                                                                                      MM / DD / YYYY
  Case number                     23-12202-pmm
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $2,954.00


     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                     $150.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
               Case 23-12202-pmm                      Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                        Desc Main
                                                               Document      Page 25 of 39
 Debtor 1             Michael               Patrick               Creedon
 Debtor 2             Regina                Anne                  Creedon                                    Case number (if known) 23-12202-pmm
                      First Name            Middle Name           Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                    $200.00

       6b. Water, sewer, garbage collection                                                                       6b.                       $50.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                    $150.00

       6d. Other. Specify:                                                                                        6d.                        $0.00

 7.    Food and housekeeping supplies                                                                             7.                     $800.00

 8.    Childcare and children’s education costs                                                                   8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                        $75.00

 10. Personal care products and services                                                                          10.                       $75.00

 11.   Medical and dental expenses                                                                                11.                    $150.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                    $412.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                        $0.00

 14. Charitable contributions and religious donations                                                             14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                  15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                      15b.                       $0.00

       15c. Vehicle insurance                                                                                     15c.                       $0.00

       15d. Other insurance. Specify:                                                                             15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                        $0.00

 17. Installment or lease payments:
                                                                                                                  17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                  17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                  17c.                       $0.00
       17c. Other. Specify:
                                                                                                                  17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                           20a.                       $0.00
       20b. Real estate taxes                                                                                     20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                       $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
             Case 23-12202-pmm                     Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                          Desc Main
                                                            Document      Page 26 of 39
 Debtor 1            Michael             Patrick               Creedon
 Debtor 2            Regina              Anne                  Creedon                                      Case number (if known) 23-12202-pmm
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                             21.     +                 $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                  $5,016.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                      $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                  $5,016.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                 $8,996.74

      23b. Copy your monthly expenses from line 22c above.                                                       23b.    –             $5,016.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                 23c.                  $3,980.74
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
                Case 23-12202-pmm                              Doc 14           Filed 08/17/23 Entered 08/17/23 17:15:24                                                     Desc Main
                                                                              Document      Page 27 of 39
 Fill in this information to identify your case:

  Debtor 1                      Michael                     Patrick                  Creedon
                               First Name                  Middle Name              Last Name

  Debtor 2                      Regina                      Anne                     Creedon
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                 Eastern District of Pennsylvania

  Case number                           23-12202-pmm                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $632,640.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                 $8,618.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $641,258.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $702,936.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                         $6,000.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +              $10,118.00


                                                                                                                                                  Your total liabilities                    $719,054.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $8,996.74


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $5,016.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1 of 2
             Case 23-12202-pmm                      Doc 14      Filed 08/17/23 Entered 08/17/23 17:15:24                                  Desc Main
                                                              Document      Page 28 of 39
Debtor 1            Michael               Patrick                 Creedon
Debtor 2            Regina                Anne                    Creedon                                          Case number (if known) 23-12202-pmm
                    First Name            Middle Name             Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                             $5,358.58




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                 $6,000.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00



    9d. Student loans. (Copy line 6f.)                                                                                            $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                       $6,000.00




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                           page 2 of 2
                Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                            Desc Main
                                                                 Document      Page 29 of 39
 Fill in this information to identify your case:

  Debtor 1                  Michael                Patrick           Creedon
                            First Name             Middle Name      Last Name

  Debtor 2                  Regina                 Anne              Creedon
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                    Eastern District of Pennsylvania

  Case number                     23-12202-pmm                                                                                     ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Michael Patrick Creedon                                       ✘ /s/ Regina Anne Creedon
        Michael Patrick Creedon, Debtor 1                                  Regina Anne Creedon, Debtor 2


        Date 08/17/2023                                                    Date 08/17/2023
                 MM/ DD/ YYYY                                                    MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                Case 23-12202-pmm                     Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                             Desc Main
                                                                 Document      Page 30 of 39
 Fill in this information to identify your case:

  Debtor 1                  Michael                Patrick              Creedon
                           First Name              Middle Name       Last Name

  Debtor 2                  Regina                 Anne                 Creedon
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                    Eastern District of Pennsylvania

  Case number                     23-12202-pmm                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                               Debtor 2

                                                     Sources of income            Gross Income              Sources of income          Gross Income
                                                     Check all that apply.        (before deductions and    Check all that apply.      (before deductions and
                                                                                  exclusions)                                          exclusions)


                                                    ❑ Wages, commissions,                                  ✔ Wages, commissions,
                                                                                                           ❑
    From January 1 of current year until the                                                                                                    $1,162.50
    date you filed for bankruptcy:                      bonuses, tips                                         bonuses, tips
                                                    ✔ Operating a business
                                                    ❑                                     $45,167.00       ❑ Operating a business




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
             Case 23-12202-pmm                     Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                               Desc Main
                                                               Document      Page 31 of 39
Debtor 1            Michael             Patrick                 Creedon
Debtor 2            Regina              Anne                    Creedon                                        Case number (if known) 23-12202-pmm
                    First Name           Middle Name            Last Name


    For last calendar year:                       ❑ Wages, commissions,                                  ❑ Wages, commissions,
    (January 1 to December 31, 2022          )         bonuses, tips                                         bonuses, tips
                                     YYYY         ✔ Operating a business
                                                  ❑                                      $5,052.00       ❑ Operating a business

    For the calendar year before that:            ❑ Wages, commissions,                                  ❑ Wages, commissions,
    (January 1 to December 31, 2021          )         bonuses, tips                                         bonuses, tips
                                     YYYY         ✔ Operating a business
                                                  ❑                                     $13,326.00       ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Debtor 1                                                Debtor 2

                                                   Sources of income           Gross income from           Sources of income          Gross Income from
                                                   Describe below.             each source                 Describe below.            each source
                                                                               (before deductions and                                 (before deductions and
                                                                               exclusions)                                            exclusions)


    From January 1 of current year until the      Social Security                        $18,928.00       Social Security                         $6,727.00
    date you filed for bankruptcy:




    For last calendar year:                       Social Security                        $44,114.00
    (January 1 to December 31, 2022          )
                                     YYYY




    For the calendar year before that:            Social Security                        $41,668.00
    (January 1 to December 31, 2021          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
              Case 23-12202-pmm                     Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                                Desc Main
                                                                Document      Page 32 of 39
Debtor 1            Michael              Patrick                Creedon
Debtor 2            Regina               Anne                   Creedon                                          Case number (if known) 23-12202-pmm
                    First Name           Middle Name            Last Name

    ✔ Yes.
    ❑            Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                 ✔ No. Go to line 7.
                 ❑
                 ❑ Yes.    List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.



  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.

  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.

 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Nature of the case                      Court or agency                                Status of the case

                                                   Tort Claim
    Case title       Debtors v. Rydal Park                                                 Montgomery County Court of Common            ❑ Pending
    Case number 2021-17640
                                                                                           Pleas
                                                                                          Court Name                                    ❑ On appeal
                                                                                           2 E Airy St                                  ✔ Concluded
                                                                                                                                        ❑
                                                                                          Number       Street
                                                                                           Norristown, PA 19401-4819
                                                                                          City                     State    ZIP Code



                                                                                                                                        ✔ Pending
                                                   Mortgage Foreclosure
    Case title       Wells Fargo v. Debtors                                                Montgomery County Court of Common            ❑
    Case number 2019-00625
                                                                                           Pleas
                                                                                          Court Name                                    ❑ On appeal
                                                                                           2 E Airy St                                  ❑ Concluded
                                                                                          Number       Street
                                                                                           Norristown, PA 19401-4819
                                                                                          City                     State    ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 3
              Case 23-12202-pmm                     Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                                Document      Page 33 of 39
Debtor 1            Michael              Patrick                Creedon
Debtor 2            Regina               Anne                   Creedon                                        Case number (if known) 23-12202-pmm
                    First Name           Middle Name            Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.

  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.

 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
              Case 23-12202-pmm                      Doc 14      Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                               Document      Page 34 of 39
Debtor 1            Michael             Patrick                 Creedon
Debtor 2            Regina              Anne                    Creedon                                        Case number (if known) 23-12202-pmm
                    First Name          Middle Name              Last Name

                                                  Description and value of any property transferred           Date payment or     Amount of payment
    Cibik Law, P.C.                                                                                           transfer was made
    Person Who Was Paid                       Attorney’s Fee and Cost
                                                                                                              07/21/23                       $2,075.00
    1500 Walnut Street Suite 900
    Number     Street




    Philadelphia, PA 19102
    City                   State   ZIP Code
    mail@cibiklaw.com
    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
              Case 23-12202-pmm                      Doc 14      Filed 08/17/23 Entered 08/17/23 17:15:24                               Desc Main
                                                               Document      Page 35 of 39
Debtor 1            Michael              Patrick                Creedon
Debtor 2            Regina               Anne                   Creedon                                        Case number (if known) 23-12202-pmm
                    First Name           Middle Name            Last Name

                                                   Last 4 digits of account number      Type of account or       Date account was           Last balance
                                                                                        instrument               closed, sold, moved, or    before closing or
                                                                                                                 transferred                transfer
    Creedon & Feliciani, P.C. 401(k)
                                                                                                                   June 2022                    $20,519.00
                                                                                      ❑ Checking
    Name of Financial Institution
                                                   XXXX–
                                                                                      ❑ Savings
    Number      Street
                                                                                      ❑ Money market
                                                                                      ❑ Brokerage
                                                                                      ✔ Other 401(k)
                                                                                      ❑
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
                Case 23-12202-pmm                    Doc 14        Filed 08/17/23 Entered 08/17/23 17:15:24                               Desc Main
                                                                 Document      Page 36 of 39
Debtor 1            Michael               Patrick                 Creedon
Debtor 2            Regina                Anne                    Creedon                                            Case number (if known) 23-12202-pmm
                    First Name            Middle Name             Last Name



  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     Michael P. Creedon, Attorney at Law,                                                                    Do not include Social Security number or ITIN.
     LLC
                                                    Law Firm
    Name
                                                                                                              EIN:          –


    Number        Street                            Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From                 To


    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
             Case 23-12202-pmm                    Doc 14     Filed 08/17/23 Entered 08/17/23 17:15:24                             Desc Main
                                                           Document      Page 37 of 39
 Debtor 1           Michael             Patrick               Creedon
 Debtor 2           Regina              Anne                  Creedon                                       Case number (if known) 23-12202-pmm
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Michael Patrick Creedon                                  ✘ /s/ Regina Anne Creedon
        Signature of Michael Patrick Creedon, Debtor 1                 Signature of Regina Anne Creedon, Debtor 2


        Date 08/17/2023                                                Date 08/17/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
         Case 23-12202-pmm                                  Doc 14           Filed 08/17/23 Entered 08/17/23 17:15:24                                                   Desc Main
                                                                           Document      Page 38 of 39

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                            Eastern District of Pennsylvania

In re        Creedon, Michael Patrick

             Creedon, Regina Anne                                                                                          Case No.             23-12202-pmm

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,725.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,075.00

        Balance Due ................................................................................................................................................      $2,650.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
       Case 23-12202-pmm                Doc 14       Filed 08/17/23 Entered 08/17/23 17:15:24                           Desc Main
                                                   Document      Page 39 of 39

B2030 (Form 2030) (12/15)


      Filing fee plus Costs & Expenses. Motion to Extend the Stay. Continued Meeting of Creditor Hearings, Addition of Creditor after Filing
      Petition, Motions to Avoid Liens, Motions for Relief from the Automatic Stay, Motions to Dismiss Case, Adverserial Proceedings &
      Discharge Litigation, Depositions, Asset Cramdowns, Objection to Proof of Claims, Certification of Stipulation Defaults, Motions for Plan
      Modifications, Motions for Reconsideration, Vacate Wage Orders, Praceipe for Discharge, Bankruptcy Chapter Conversions, Redemption
      of Property, Lexis & Pacer Research, Credit, Property, Judgements, & Liens Reports. The above legal services will be billed at a hourly
      rate of $375 per hour per attorney


                                                              CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         08/17/2023                                              /s/ Michael A. Cibik
                Date                                          Michael A. Cibik
                                                              Signature of Attorney
                                                                                                 Bar Number: 23110
                                                                                                     Cibik Law, P.C.
                                                                                        1500 Walnut Street Suite 900
                                                                                             Philadelphia, PA 19102
                                                                                             Phone: (215) 735-1060

                                                                                  Cibik Law, P.C.
                                                             Name of law firm




                                                                  Page 2 of 2
